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 8                                     UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11     RALPH COLEMAN, et al.,                            No. 2:90-cv-0520 KJM SCR P
12                        Plaintiff,
13            v.                                         ORDER
14     GAVIN NEWSOM, et al.,
15                        Defendants.
16

17

18           The matter of payment of the Special Master has been referred to the magistrate judge by
19    the district court judge. The court has reviewed the bill for services provided by the Special Master
20    in the above-captioned case through the month of July 2024.
21           Good cause appearing, IT IS HEREBY ORDERED that:
22                   1. The Clerk of the Court is directed to pay to
23                           Pannone Lopes Devereaux & O’Gara LLC
                             Attn: Matthew A. Lopes, Jr., Esq., Special Master
24                           Northwoods Office Park, Suite 215N
                             1301 Atwood Avenue
25                           Johnston, RI 02919
26     the amount of $1,079,860.09 as payment of the statement attached to this order; and
27                   2. A copy of this order shall be served on the financial department of this court.
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     Case 2:90-cv-00520-KJM-SCR Document 8373 Filed 08/26/24 Page 2 of 7


 1    Dated: August 25, 2024
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     Case 2:90-cv-00520-KJM-SCR Document 8373 Filed 08/26/24 Page 3 of 7


 1    RALPH COLEMAN, et al.,                     :
          Plaintiffs,                            :
 2                                               :         No. Civ. S-90-0520 KJM SCR P
            v.                                   :
 3                                               :
      EDMUND G. BROWN, JR., et al.               :
 4        Defendants.
 5    The Special Master hereby submits his latest statement for fees and disbursements, including
      those accrued through July 31, 2024.
 6

 7    Matthew A. Lopes, Jr., Special Master
 8                  Services                                            $32,331.00
                    Disbursements                                       $18,672.45
 9
                                                     Total amount due                 $51,003.45
10
      Kerry F. Walsh, J.D., Deputy Special Master
11                    Services                                          $63,050.00
                      Disbursements                                     $     0.00
12
                                                     Total amount due                 $63,050.00
13
      Kristina M. Hector, J.D.
14
                      Services                                          $49,797.00
15                    Disbursements                                     $     0.00

16                                                   Total amount due                 $49,797.00

17    Regina M. Costa, MSW., J.D.
                     Services                                           $53,510.00
18                   Disbursements                                      $     0.00
19                                                   Total amount due                 $53,510.00
20    LaTri-c-ea McClendon-Hunt, J.D.
21                   Services                                           $47,124.00
                     Disbursements                                      $     0.00
22
                                                     Total amount due                 $47,124.00
23
      Michael F. Ryan, Jr.
24                   Services                                           $36,399.00
                     Disbursements                                      $     0.00
25
                                                     Total amount due                 $36,399.00
26

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     Case 2:90-cv-00520-KJM-SCR Document 8373 Filed 08/26/24 Page 4 of 7


 1    Michael A. Milas
                     Services                                $33,280.00
 2                   Disbursements                           $     0.00
 3
                                          Total amount due                $33,280.00
 4
      Mario R. McClain, Jr.
 5                   Services                                $40,317.00
                     Disbursements                           $     0.00
 6
                                          Total amount due                $40,317.00
 7
      Alison A. Tate
 8
                       Services                              $46,791.00
 9                     Disbursements                         $     0.00

10                                        Total amount due                $46,791.00

11    Mitchell J. Young
                      Services                               $44,610.00
12                    Disbursements                          $     0.00
13                                        Total amount due                $44,610.00
14    Rachel Gribbin
15                     Services                              $21,802.50
                       Disbursements                         $     0.00
16
                                          Total amount due                $21,802.50
17
      Lana L. Lopez
18                     Services                              $34,447.50
                       Disbursements                         $     0.00
19
                                          Total amount due                $34,447.50
20
      Kerry C. Hughes, M.D.
21
                     Services                                $48,792.00
22                   Disbursements                           $     0.00

23                                        Total amount due                $48,792.00

24    Jeffrey L. Metzner, M.D.
                      Services                               $22,416.00
25                    Disbursements                          $ 1,562.80
26                                        Total amount due                $23,978.80
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     Case 2:90-cv-00520-KJM-SCR Document 8373 Filed 08/26/24 Page 5 of 7


 1    Mary Perrien, Ph.D.
                      Services                               $21,268.00
 2                    Disbursements                          $ 749.89
 3
                                          Total amount due                $22,017.89
 4
      Patricia M. Williams, J.D.
 5                     Services                              $47,112.00
                       Disbursements                         $ 1,886.10
 6
                                          Total amount due                $48,998.10
 7
      Henry A. Dlugacz, MSW, J.D.
 8
                     Services                                $28,842.00
 9                   Disbursements                           $     0.00

10                                        Total amount due                $28,842.00

11    Lindsay M. Hayes
                     Services                                $13,794.00
12                   Disbursements                           $     0.00
13                                        Total amount due                $13,794.00
14    Timothy A. Rougeux
15                  Services                                 $21,384.00
                    Disbursements                            $     0.00
16
                                          Total amount due                $21,384.00
17
      Maria Masotta, Psy.D.
18                    Services                               $26,150.00
                      Disbursements                          $ 498.50
19
                                          Total amount due                $26,648.50
20    Karen Rea PHN, MSN, FNP
21                  Services                                 $27,007.96
                    Disbursements                            $ 541.34
22
                                          Total amount due                $27,549.30
23
      Brian J. Main, Psy.D.
24                     Services                              $37,366.00
                       Disbursements                         $ 2,690.08
25
                                          Total amount due                $40,056.08
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     Case 2:90-cv-00520-KJM-SCR Document 8373 Filed 08/26/24 Page 6 of 7


 1    Sharen Barboza, PhD.
                      Services                                  $26,310.00
 2                    Disbursements                             $ 974.22
 3
                                             Total amount due                $27,284.22
 4
      Daniel F. Potter, PhD.
 5                      Services                                $75,012.00
                        Disbursements                           $     0.00
 6
                                             Total amount due                $75,012.00
 7
      Brett L. Johnson, M.D.
 8                     Services                                 $54,884.00
                       Disbursements                            $ 3,068.47
 9

10                                           Total amount due                $57,952.47

11    Marcus R. Patterson, PsyD.
                      Services                                  $26,560.00
12                    Disbursements                             $ 1,256.67

13                                           Total amount due                $27,816.67
14    J. David Dawdy, M.A.
                     Services                                   $ 9,826.00
15
                     Disbursements                              $ 1,782.84
16
                                             Total amount due                $11,608.84
17
      Kerry Eudy, J.D., Ph.D.
18                    Services                                  $19,328.00
                      Disbursements                             $ 1,713.96
19
                                             Total amount due                $21,041.96
20
      John S. Wilson, Ph.D., CCHP-MH, CPHQ
21                    Services                                  $29,642.00
22                    Disbursements                             $ 458.81

23                                           Total amount due                $30,100.81

24    Darrin A. Bell
                       Services                                 $ 2,541.00
25                     Disbursements                            $     0.00
26                                           Total amount due                $ 2,541.00
27

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     Case 2:90-cv-00520-KJM-SCR Document 8373 Filed 08/26/24 Page 7 of 7


 1    Lynn Bissonnette
                     Services                                           $ 2,310.00
 2                   Disbursements                                      $     0.00
 3
                                                     Total amount due                   $ 2,310.00
 4

 5
      TOTAL AMOUNT TO BE REIMBURSED                                                     $1,079,860.09
 6

 7    Receipts for justification of reported expenditures are available upon request.

 8    Respectfully submitted,

 9    /s/ Matthew A. Lopes, Jr.

10    Matthew A. Lopes, Jr.
      Special Master
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